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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

UNITED STATES OF AMERICA                    :

              Plaintiff,                    :

       v.                                   :      Case No. 1:10-cv-694

CONTENTS OF WOODFOREST                      :      Judge Susan J. Dlott
NATIONAL BANK
ACCOUNT No.XXX0017, et al.                  :

              Defendants.                   :

                           MOTION TO DISSOLVE STAY

       Now come all the Claimants and Defendants and move this Court to dissolve the

Stay Order of October 20, 2010 and release all property and funds.

                                                   Respectfully submitted,

                                                   _____/s/ Steven E. Hillman
                                                   Steven E. Hillman (0002578)
                                                   Attorney for Claimants and
                                                   Defendants
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                                  MEMORANDUM

       The expressed basis for the Plaintiff asking for the Stay Order was centered

around discovery and the time required by the Plaintiff’s agents and employees that

would be diverted from pursuing other endeavors to providing discovery. There is no

need for a Stay Order in that the Defendants and Claimants want their day in court

forthwith. The Government has usurped property without compensation and is holding
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that property hostage while denying honest businesses and persons the use of their

property.

         If the Plaintiff truly has evidence that it proclaims in its Complaint, then they

should present it immediately.     The Plaintiff “anticipated discovery” which did not

happen. The Plaintiff submitted to this Court a statement which this Court placed under

seal and did not conduct a hearing to evaluate the claims of the Plaintiff before issuing a

Stay Order.     How can the parties possibly have due process when everything is

maintained in the proverbial Dreyfus Black Box? It is a basic right that evidence must be

presented and not kept secret from the ones against whom that evidence is used. The

unknown allegations of the Plaintiff must be presumed to be non-existent unless exposed

to the light of day and the cross examination test of believability. A hidden piece of

paper as exists in this case can never be used to deny or delay the property rights

         The delay created by the Plaintiff is improper and is violates the Claimants and

Defendants Constitutional Rights pursuant to the 4th, 5th and 14th Amendments. The

property that is the subject of this action was seized on April 22, 2010 and all of the

defendants were not listed as property to be seized.           One must assume that an

investigation was commenced sometime prior to that date. It is a denial of due process to

delay the return of this property any longer.      The stay should be lifted and in the

alternative the Court should set a hearing wherein the Plaintiff may be given the

opportunity to explain why it should retain this property and a stay should continue to

exist.
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       It is clear that to delay is prejudicial and violates one of the very inalienable rights

afforded to every one subject to the law in that it denies justice and removes the

protections afford by the Constitution and relinquishes individual property to the “crown”

without an opportunity to require the Plaintiff to prove its right to the property.

                                                       Respectfully submitted,


                                                       _____/s/ Steven E. Hillman
                                                       Steven E. Hillman (0002578)
                                                       Attorney for Claimants and
                                                       Defendants
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 13th day of December, 2010, a copy

of the Motion To Dissolve Stay was filed electronically. Notice of this filing well be sent

to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.

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